UNITED STATES OF AMERICA

Case 2:05-cr-20315-.]DB Document 6 Filed 08/29/05 Page 1 of 4 Page|D 5

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UNITED STATES DIS'I`RICT COURT

Western Division

 

-v- Case No. 2:05cr20315-B
ANTWAN JACKSON
ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this

case.
(2) The defendant shall immediately advise the court, Pretrial Services Offrce, Probation Office, defense counsel

and the U.S. At‘torney in writing of any change in address and telephone nurnber.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom M-3, 9TH FL()OR on WEDNESDAY, AUGUST 31,2005, at 9:30 AM.

ADDITIONAL CONDIT|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the

community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

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~ 32 b rach en § ’QZ§-/Q§
AO199A Order Setting Conditions ofRelease '1° With Ru|e 55 and/icf ( )

Secured Financial Conditions
execute a bond in the amount of 310,000.00 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: WflO% CASH
DEPOSIT WITH THE CLERK OF COURT.
report as directed by the Pretrial Services Office.
maintain or actively seek employment
refrain from possessing a firearrn, destructive device, or other dangerous weapon
refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner

This document entered on the dock

 

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0 submit to any method of testing required by the Prctrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance. Such methods may be used with random
frequency and include urine testing1 the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Prctrial Services and pay a percentage of the fee as determined by Prctrial Services.

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death1 life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than SZS0,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

AO 1 SQA Order Settlng Condittons cf Re|ease -2-

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ACKNOWLEDGN|ENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of release I promise
to obey all conditions of release, to appear as directed, and to surrender for service f any sentence imposed. I arn aware

of the penalties and sanctions set forth above.
‘-/// </ Sign:V)€\%ndant
ANT AN JACKSON

85 GRANT
MASON, TN 38049
901-475-0904

 
 

D|RECT|ONS TO THE UN|TED STATES NIARSHAL

|:| The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Of`ficer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dare; Augusr 26, 2005 _/L/\{ L\
rn M. PHAM "'\
UNITED srArr~:s MAGISTRATE JUDGE

AO 199A Grder Setiing Conditions of Re|ease '3'

SDISTRIC COUR - WESRNTE DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-203 l 5 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

.loseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

